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                                          March 22, 2019




 The Honorable Thomas T. Cullen
 United States Attorney
 Western District ofVirginia
 310 First Street, SW
 Roanoke, VA 24011

 Eric S. Dreiband
 Assistant Attorney General
 Civil Rights Division
 Department of Justice
 Washington, D.C. 20530

 Dear Messrs. Cullen and Dreiband:

         You are authorized and directed not to seek the death penalty against James Alex Fields,
·Jr. conditioned ·on his entering into a plea agreement in accordance with the te1ms delineated in
 your March 19, 2019 memorandum.


                                                      Sincerely,




                                                      William P. Ba11'
                                                      Attomey General




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